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                                                                      FILED: March 20, 2013

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT

                                         ___________________

                                             No. 12-8052 (L)
                                         (8:04-cr-00235-RWT-9)
                                         ___________________


        UNITED STATES OF AMERICA

                        Plaintiff - Appellee

        v.

        LAVON DOBIE, a/k/a Becky Parker, a/k/a Theresa Waller, a/k/a Dobie Parker

                        Defendant - Appellant

                                         ___________________

                                              ORDER
                                         ___________________

                  The court appoints Jonathan Gladstone to represent appellant on appeal.

        Counsel is referred to the memorandum on Payment of Counsel Appointed under

        the Criminal Justice Act for information on appointment terms, obtaining a fee

        exempt PACER account for electronic access to documents in CJA cases, redacting

        private and sensitive data from transcripts and other documents, and maintaining

        time and expense records. If appointed counsel has not previously received CJA

        payments from the federal courts, or if their information has changed, counsel
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        should complete the CJA Taxpayer Identification Form.

                  Counsel not yet registered for electronic filing should proceed to the court's

        web site to register as an ECF filer, www.ca4.uscourts.gov.

                  The enclosed notice to new counsel provides counsel with additional

        information relevant to the appointment.

                  If a different attorney provided representation in the district court, former

        counsel shall immediately provide new counsel with all case papers, including any

        prepared transcripts, and information of relevance to the representation.

                                                    For the Court--By Direction

                                                    /s/ Patricia S. Connor, Clerk
